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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
MARIO CERAME                              :

        Plaintiff, pro se                      :

v.                                             :

Edward “Ned” Lamont, Jr.,                      :         3:21-cv-01508 (JCH)
Governor of the State of Connecticut; and
                                               :
Richard J. Colangelo, Jr.,
Chief State’s Attorney of Connecticut          :

        Defendants                             :
        In their official capacities only                JULY 18, 2022

                RESPONSE TO DEFENDANTS’ OBJECTION CONCERNING
                        ORDER FOR CERTIFIED QUESTION

        The Defendants filed an objection; entry 38; to this Court’s order certifying a

question to the Connecticut Supreme Court; entry 37. I oppose the objection. First,

certification is consonant with Second Circuit and state precedent. Second, certification

may preserve scarce judicial resources. Third, the State’s argument amplifies my

rational fear of arbitrary enforcement and basis for standing. Accordingly, the Court

should overrule the objection.

I. Certification is Consonant with Precedent

              The State does not address statutory or Circuit precedent concerning the

     scope of discretion for certifying questions. Connecticut’s version of the Uniform

     Certification of Questions of Law Act is General Statutes § 51-199b. Although the

     statute has been revised over the years1, the key governing principles have

     remained the same.

        1
       The Statute has been rewritten in form a few times over the years, and prior
versions from 1996 and 1988 are attached to aid in reviewing relevant precedent.
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       The Second Circuit recently had occasion to reiterate the test for certification

in Glover v. Bausch & Lomb Inc., 6 F.4th 229, 244 (2d Cir. 2021), certified question

answered, 343 Conn. 513 (2022):

          Certification is an exercise of our discretion. In considering whether to
          certify a question for review, we have “traditionally considered”:

              [1] whether a state court decision has ever provided an authoritative
              answer[;] [2] the extent to which the question implicates the weighing
              of policy concerns of particular importance[;] and [3] if the Connecticut
              Supreme Court's answer may be determinative of the appeal.

Like in Glover, all three factors counsel in favor of certification here. As with that

case, the Supreme Court of Connecticut has not construed this statute. There is

one non-reported opinion in Jensen, but that seems to have no precedential value,

and certainly the opinion isn’t authoritative as to how the statute is actually enforced

today. Second, the issues here implicate “policy concerns of particular importance”

because issues of the First Amendment and prosecutorial discretion are matters of

serious public interest. Finally, the Supreme Court's responses will be

determinative. If I have standing, it isn’t a close question as to whether the statute is

unconstitutional on its face. The only serious issue in this case is standing.

       Another useful case for this Court to consider is Dorman v. Satti, 862 F.2d

432, 434–36 (2d Cir. 1988). The Second Circuit denied certification requested by

the State in that case. Id. 436.

          The United States Supreme Court has encouraged the use of state
          certification procedures as an alternative to “the more cumbersome and ...
          problematic abstention doctrine. . . . The purpose of certification is to
          obtain the benefit of an authoritative construction from the state's highest
          court before proceeding to the merits of the dispute. This may further the
          interests of federal/state comity by providing the state court with the
          opportunity to rule on an issue of state law before being precluded from
          doing so by a contrary federal court judgment. The state court's interest in

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                accepting a certified question for review is particularly strong when it has
                not yet had the opportunity to interpret the pertinent statutory
                language. . . . Nevertheless, issues of state law are not to be routinely
                certified to the highest courts of New York or Connecticut simply because
                a certification procedure is available. The procedure must not be a device
                for shifting the burdens of this Court to those whose burdens are at least
                as great. . . .

                The test for determining the appropriateness of employing the certification
                procedure is whether the statute in question is “readily susceptible” to the
                proffered narrowing construction that would render an otherwise
                unconstitutional statute constitutional. . . .

   Id. at 434–35 (citations omitted)(internal quotation marks omitted). Applying these

   principles to the present case, there are no reported Connecticut cases construing

   the statute, and no cases that recognize the one case cited by the state.

   Accordingly, the comity interest here is “particularly strong.” Id. at 435.

   Furthermore, the present factual scenario is unusual. Here we have a 1917 statute,

   originally written to be applied to businesses, being applied solely to individuals.

   This is not a “routine” case, and the procedure is not a mere device to shift burdens

   to the state courts. See id.

             As to the test for appropriateness, the present situation is suitable according

   to the State’s position on the statute. The State implicitly argues that the statute is

   readily susceptible to a construction that could save it. Accordingly, by the state’s

   position, as the state has argued, certification is proper.2



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        Although I favor certification, I disclose in candor to the tribunal some authority
that certification may not be appropriate. The problem is how this statute is similar to
that in Dorman. Because both this statute and the statute in Dorman are incapable of a
lawful construction, there is a non-frivolous argument against certification:

             [T]he statute in this case is so imprecise and indefinite that it is subject to any
             number of interpretations. The terms “interfere,” “harass,” and “acts in
             preparation” do not admit of distinct limiting constructions. They can mean
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              Standing in this case is not a bar to certification here either. The issue of

   standing in the context of a certified question was discussed by the Connecticut

   Supreme Court in Ramos v. Town of Vernon, 254 Conn. 799, 810–11, 761 A.2d 705

   (2000). Like the plaintiff in that case, I allege that I have engaged in, and continue to



              anything. For this court to ask the Connecticut Supreme Court to consider
              construing the statute to apply only to “core criminal conduct,” as defendants
              would have it, would be tantamount to asking the Connecticut court “if it would
              care in effect to rewrite [the] statute.”

Id. at 436.

       The statute here has the same kind of flaw. The phrase “ridicules or holds up to
contempt” in § 53-37 is similarly without a discernable core. “Ridicule” according to the
Merriam-Webster dictionary means “to make fun of.” Merriam-Webster Online
Dictionary, ridicule (accessed July 18, 2022) available at https://www.merriam-
webster.com/dictionary/ridicule. There is no objective standard to “making fun of”
someone. The conduct depends on the perceptions of others, and such perceptions
vary widely among reasonably minded people. Like the terms in Dorman, what is
considered “ridicule” by some would not be considered ridicule by others.

        “Contempt” is much the same. According to the Merriam-Webster dictionary,
“contempt” means a lack of respect or reverence, or the act of despising. Merriam-
Webster Online Dictionary, contempt (accessed July 18, 2022) available at
https://www.merriam-webster.com/dictionary/contempt. Again, the measure of the
conduct depends on the perceptions of others, or matters of personal taste. Like with
the terms “interfere” and “harass,” conduct that is considered a “lack of respect or
reverence” by some would not be considered disrespect or irreverent conduct by others,
and the act of “despising” is totally nonspecific. The language is like the term “offensive
or disorderly conduct” in this way—what may be an act of “despising” to one person
may not be to another.

       If the statute were somehow limited to fighting words, then the statute would run
afoul of R.A.V. v. St. Paul, 505 U.S. 377, 112 S. Ct. 2538 (1992). C.f. id. at 389 (“a State
may not prohibit only that commercial advertising that depicts men in a demeaning
fashion”).

        And so there is no construction that can save the statute. I nonetheless support
certification because on balance, I recognize the centrality of standing to the present
case. If the Defendants’ objection disinclines the Court to certify, however, the reason
for deciding not to certify should be that, like the statute in Dorman, the statute here is
incapable of any lawful construction.
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   engage in, conduct that is unlawful under § 53-37 as it is presently enforced. Based

   on present practices in enforcement—not theoretical construction proffered by the

   State, but actual enforcement practices—there is a genuine likelihood of criminal

   liability for my speech.

          Reviewing the precedence in Glover, Dorman, and Ramos, certification is

   proper in this case.

II. Certification May Preserve Scarce Judicial Resources

          Certification is appropriate here because it is the most efficient course. As

   pointed out in the Objection to the Motion to Dismiss, construction of the statute is

   not crystal clear over time. Jensen is not a reported case, and its existence is

   limited to a citation in another case. In light of the lack of definitive authority in the

   more-than-a-century long life of the statute, the Court is right to cut to the chase and

   certify a question to the Supreme Court on the construction of the statute. This may

   eliminate extensive briefing and scraping-the-barrel kind of research for everyone.

          Further, certification may likely to obviate the need for an evidentiary hearing

   on standing. I am entitled to an evidentiary hearing, and specifically, if necessary, I

   have the right to call the CSA as a witness and ask him what he understands the

   scope of his authority to be. The certified question has a substantial likelihood of

   avoiding that as necessary.

III. The State’s Argument Amplifies My Fear of Arbitrary Enforcement

          Let’s say for the moment that the State’s argument here is genuine:

              Here, the phrase “by his advertisement” is plain and unambiguous. As the
              Court determined in Sherwood, adopting a Connecticut trial court’s
              interpretation of “advertisement,” means “a public notice, usually paid for,
              as of things for sale, needs, etc. which relates to a paid article to bring the

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          public's attention to something for the purpose of promoting the sale of the
          subject matter in question.”

If what the State says is true, every recorded enforcement of § 53-37 has been

patently illegal. If what the State says is true, the State is commonly enforcing the

law with freewheeling, standardless discretion.

      The statute has been enforced at least dozens of times over the past 80

years. Every enforcement action I have found, from Cantewell to current, has been

against individual speech. I have found no evidence of any enforcement actions

concerning a business, and neither has the only legal scholar to address the statute.

See Objection to Motion to Dismiss, entry 28, at 12n.3 and accompanying text.

There is a gap between what the State claims the law is, and what the State

actually does.

      If the State’s claim here in this objection is taken as-is, the governmental

abuse of power through the statue is extensive, historical and enduring. The State’s

argument does nothing to diminish my rational fear of arbitrary enforcement. In light

of such sweeping illegality—as made plain in the State’s own position—my fear of

arbitrary enforcement is reasonable.

      The State will argue before this Court one construction of the statute, but I

have observed the State, prosecutors, police, and judges, enforce a different

construction in State court. The State should not be permitted to continue to play

the parlor game avoiding clearly established law for qualified immunity purposes and

preserving an unfortunately unreasonable dimension of prosecutorial discretion. The

State’s argument here is meritless.




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Conclusion

     The Court should overrule the objection.


  JULY 18, 2022                       Respectfully submitted,

                                      THE PLAINTIFF, pro se

                                      /s/ Mario Cerame ct30125
                                      Mario Cerame, pro se

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                                      CERTIFICATION

I hereby certify that a copy of the foregoing has been or shall immediately be filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF system.

                                            /s/ Mario Cerame ct30125
                                            Mario Cerame, pro se




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